           CASE 0:20-cv-01872-PJS-ECW Doc. 10 Filed 10/23/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                       MOTION FOR ADMISSION PRO HAC VICE

              20-cv-01872-PJS-ECW
Case Number: ____________________

            Brandon Ehlis, on behalf of himself and all others similarly situated v.
Case Title: ________________________________________
               DAP Products, Inc.

                                             Affidavit of Movant

I, ____________________________,
    Russell S. Ponessa              an active member in good standing of the bar of the U.S.
District Court for the District of Minnesota, request that this Court admit pro hac vice
_________________________________,
Alec Harris                             an attorney admitted to practice and currently in good
standing in the U.S. District Court for (please identify ONE specific district to which the
attorney is admitted) _________________________________,
                        Colorado                             but not admitted to the bar of this
court, who will be counsel for the  plaintiff x defendant _____________________________
                                                            DAP Products, Inc.
in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

  x I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

                    /s/Russell S. Ponessa
         Signature:______________________________                             October 23, 2020
                                                                        Date: ___________

                                 0169316
         MN Attorney License #: _____________________




                                                         1
         CASE 0:20-cv-01872-PJS-ECW Doc. 10 Filed 10/23/20 Page 2 of 2




                                Affidavit of Proposed Admittee


I, __________________________,
    Alec Harris                      am currently a member in good standing of the U.S. District
Court for the (please identify ONE specific district to which you are admitted)
________________________________,
 Colorado                                 but am not admitted to the bar of this court. I
understand that if this Court grants me admission pro hac vice, the moving attorney identified in
this motion must participate in the preparation and presentation of the case listed above, and
must accept service of all papers served as required by LR 83.5(d). I further understand that the
District of Minnesota is an electronic court and that I will receive service as required by Fed. R.
Civ. P. 5(b) and 77(d) by electronic means and I understand that electronic notice will be in lieu
of service by mail.

Signature:______________________________
           /s/Alec Harris                           Date: ___________
                                                          October 20, 2020

             Alec Harris
Typed Name: __________________________

Attorney License Number:_____________________
                         47547                issued by the State of _________________
                                                                     Colorado


Federal Bar Number (if you have one):

               Armstrong Teasdale LLP
Law Firm Name: ________________________________

Law Firm Address: _______________________________
                  4643 S. Ulster Street, Suite 800


                    _______________________________
                    Denver, CO 80237


                    _______________________________

Main phone: (___)____________________
             720   200-0676                       Direct line: (___)____________________
                                                                720 200-0615


E-mail address: ______________________________
                aharris@armstrongteasdale.com




                                                2
